     Case: 3:22-cv-00100-MJN-CHG Doc #: 1-6 Filed: 04/14/22 Page: 1 of 12 PAGEID #: 50
                                                           ELECTRONICALLY FILED
                                                           COURT OF COMMON PLEAS
                                                           TUESDAY MARCH 15 2022 01 :25:15 PM
                                                           CASE NUMBER: 2022 CV 01134 Docket ID: 36158298
                                                           MIKE FOLEY
                                                           CLERK OF COURTS MONTGOMERY COUNTY OHIO



      IN THE COURT OF COMMON PLEAS, MONTGOMERY COUNTY OHIO
                           CIVIL DIVISION

                                                                                 SUMMONS
PLAINTIFF                                                                         CASE NUMBER
OLWIN METAL FABRICATION LLC                                                        2022 CV 01134
vs
DEFENDANT                                                                     ARTICLE NUMBER
MULTl-CAM INC. et al                                                                270889763712

TO THE FOLLOWING NAMED DEFENDANT:
MULTl-CAM INC.
1025 WEST ROYAL LANE
DFW AIRPORT TX 75261


You have been named a Defendant or Respondent in a complaint filed in Montgomery County
Court of Common Pleas, Dayton, Ohio.A copy of the Complaint is attached.

BY:
OLWIN METAL FABRICATION LLC
1933 KUNTZ ROAD
DAYTON, OH 45404


PLAINTIFF ATTORNEY:
DAVID M RICKERT
110 NORTH MAIN STREET
SUITE 1000
DAYTON, OH 45402-1738

You are hereby summoned and required to serve upon the Plaintiffs attorney, or upon the Plaintiff,
if the Plaintiff does not have an attorney, a copy of an Answer to the Complaint within 28 days
after receipt of this summons, exclusive of the day you received the summons. Your
original Answermust be filed with the Clerk of Court's Office within 3 daysafter you serve the
Plaintiff's attorney or Plaintiff.




                                           EXHIBIT D
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If you fail to appear and defend, Judgment by Default may be rendered against you
granting Plaintiff(s) the relief demanded in the Complaint.

NOTE:
If you are represented by an attorney, your attorney is required to electronically file your Answer
through the Court's authorized electronic filing system. See Montgomery County Common Pleas
Court Loe. R. 1.15, Electronic Filing of Court Documents, for requirements of electronic filing.
Local rules can be accessed at www.montcourt.oh.gov. Service of the Answer will be made upon
the Plaintiffs attorney through the Court's authorized electronic filing system. If the Plaintiff does
not have an attorney, your attorney is required to serve a paper copy of your Answer to the
Plaintiff.

If you are representing yourself (appearing pro se), you have the option to file your Answer in
paper OR through the Court's authorized electronic filing system (See Loe. R. 1.15, Electronic
Filing of Court Documents). Local rules can be accessed at www.montcourt.oh.gov. If you file
your Answer in paper, you are required to serve a paper copy of your Answer to the Plaintiff's
Attorney or the Plaintiff. If you file your Answer electronically, service of the Answer will be made
upon the Plaintiffs attorney through the Court's authorized electronic filing system. If the Plaintiff
does not have an attorney, you are required to serve a paper copy of your Answer to the Plaintiff.



                                             /s/ MIKE FOLEY, ISSUED Tuesday, March 15, 2022
 ■
                                                                              MIKE FOLEY, CLERK
                                                                     COURT OF COMMON PLEAS
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               ,.
                                                                  MONTGOMERY COUNTY, OHIO


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     Case: 3:22-cv-00100-MJN-CHG Doc #: 1-6 Filed: 04/14/22 Page: 3 of 12 PAGEID #: 52



                In The Court Of Common Pleas, Montgomery County Ohio
                                    Civil Division
                                                     RETURN OF SERVICE SUMMONS

PLAINTIFF                                                                              CASE NUMBER
OLWIN METAL FABRICATION LLC                                                              2022 CV 01134
vs
DEFENDANT                                                                          ARTICLE NUMBER
MULTl-CAM INC. et al                                                                      270889763712


TO THE FOLLOWING NAMED PARTY:
MULTl-CAM INC.
1025 WEST ROYAL LANE
DFW AIRPORT, TX 75261

                           RETURN OF SERVICE(PERSONAL)
          FEES
                          I received the document on _ _ _ _ _ , 2022, at _ _ o'clock _ _ M. and
SERVICE     $_ __
                          made personal service of it upon                        by locating him/them and
MILEAGE                   tendering a copy of the document and accompanying documents, on
TOTAL       $_ __         - - - - - - ' 2022.
                          By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
DATE


                           RETURN OF SERVICE(RESIDENCE)
          FEES
                          I received the document on _ _ _ _ _ , 2022, at _ _ o'clock _ _ M. and
SERVICE     $_ __
                          made residence service of it upon                        by leaving, at his/their
MILEAGE                   usual place of residence with                          a person of suitable age
TOTAL       $_ _ _        and discretion then residing therein a copy of the complaint and accompanying
                          documents, on _ _ _ _ _ _ _ , 2022.
DATE
                          By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                       RETURN OF SERVICE(FAILURE OF SERVICE)
          FEES
                          I received the document on _ _ _ _ _ , 2022, at _ _ o'clock _ _ M. with
SERVICE     $_ __
                          instructions to make personal/residence service upon
MILEAGE
                          - - - - - - - - - - - - - - - - - - - - - and                            I was
TOTAL       $_ __         unab Ie to serve a copy documents upon him/them for the following reasons:

DATE
                          By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                           EXHIBIT D
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                                   EXHIBIT D
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      IN THE COURT OF COMMON PLEAS, MONTGOMERY COUNTY OHIO
                           CIVIL DIVISION

                                                                                SUMMONS
PLAINTIFF                                                                       CASE NUMBER
OLWIN METAL FABRICATION LLC                                                       2022 CV 01134
vs
DEFENDANT                                                                    ARTICLE NUMBER
MULTl-CAM INC. et al                                                              270889773231

TO THE FOLLOWING NAMED DEFENDANT:
MULTICAM GREAT LAKES INC.
2727 ELMRIDGE DRIVE NW
GRAND RAPIDS Ml 49534


You have been named a Defendant or Respondent in a complaint filed in Montgomery County
Court of Common Pleas, Dayton, Ohio.A copy of the Complaint is attached.

BY:
OLWIN METAL FABRICATION LLC
1933 KUNTZ ROAD
DAYTON, OH 45404


PLAINTIFF ATTORNEY:
DAVID M RICKERT
110 NORTH MAIN STREET
SUITE 1000
DAYTON, OH 45402-1738


You are hereby summoned and required to serve upon the Plaintiffs attorney, or upon the Plaintiff,
if the Plaintiff does not have an attorney, a copy of an Answer to the Complaint within 28 days
after receipt of this summons, exclusive of the day you received the summons. Your
original Answermust be filed with the Clerk of Court's Office within 3 daysafter you serve the
Plaintiff's attorney or Plaintiff.




                                           EXHIBIT D
    Case: 3:22-cv-00100-MJN-CHG Doc #: 1-6 Filed: 04/14/22 Page: 6 of 12 PAGEID #: 55



If you fail to appear and defend, Judgment by Default may be rendered against you
granting Plaintiff(s) the relief demanded in the Complaint.

NOTE:
If you are represented by an attorney, your attorney is required to electronically file your Answer
through the Court's authorized electronic filing system. See Montgomery County Common Pleas
Court Loe. R. 1.15, Electronic Filing of Court Documents, for requirements of electronic filing.
Local rules can be accessed at www.montcourt.oh.gov. Service of the Answer will be made upon
the Plaintiffs attorney through the Court's authorized electronic filing system. If the Plaintiff does
not have an attorney, your attorney is required to serve a paper copy of your Answer to the
Plaintiff.

If you are representing yourself (appearing pro se), you have the option to file your Answer in
paper OR through the Court's authorized electronic filing system (See Loe. R. 1.15, Electronic
Filing of Court Documents). Local rules can be accessed at www.montcourt.oh.gov. If you file
your Answer in paper, you are required to serve a paper copy of your Answer to the Plaintiff's
Attorney or the Plaintiff. If you file your Answer electronically, service of the Answer will be made
upon the Plaintiffs attorney through the Court's authorized electronic filing system. If the Plaintiff
does not have an attorney, you are required to serve a paper copy of your Answer to the Plaintiff.



                                             /s/ MIKE FOLEY, ISSUED Tuesday, March 15, 2022
                                                                             MIKE FOLEY, CLERK
                                                                     COURT OF COMMON PLEAS
                                                                  MONTGOMERY COUNTY, OHIO


                                 PREPARED ELECTRONICALLY




                                             EXHIBIT D
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                 In The Court Of Common Pleas, Montgomery County Ohio
                                     Civil Division
                                                      RETURN OF SERVICE SUMMONS

PLAINTIFF                                                                              CASE NUMBER
OLWIN METAL FABRICATION LLC                                                              2022 CV 01134
vs
DEFENDANT                                                                          ARTICLE NUMBER
MULTl-CAM INC. et al                                                                      270889773231


TO THE FOLLOWING NAMED PARTY:
MULTICAM GREAT LAKES INC.
2727 ELMRIDGE DRIVE NW
GRAND RAPIDS, Ml 49534


                           RETURN OF SERVICE(PERSONAL)
          FEES
                          I received the document on _ _ _ _ _ , 2022, at _ _ o'clock _ _ M. and
SERVICE     $_ _ _
                          made personal service of it upon _ _ _ _ _ _ _ by locating him/them and
MILEAGE                   tendering a copy of the document and accompanying documents, on
TOTAL       $_ _ _        - - - - - -' 2022.
                          By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
DATE


                           RETURN OF SERVICE(RESIDENCE)
          FEES
                          I received the document on _ _ _ _ _ , 2022, at _ _ o'clock _ _ M. and
SERVICE     $_ _ _
                          made residence service of it upon                        by leaving, at his/their
MILEAGE                   usual place of residence with                          a person of suitable age
TOTAL       $_ __         and discretion then residing therein a copy of the complaint and accompanying
                          documents, on _ _ _ _ _ _ _ _ , 2022.
DATE
                          By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                       RETURN OF SERVICE(FAILURE OF SERVICE)
          FEES
                          I received the document on _ _ _ _ _ , 2022, at _ _ o'clock _ _ M. with
SERVICE     $_ _ _
                          instructions to make personal/residence service upon
MILEAGE
                          - - - - - - - - - - - - - - - - - - - - - - and                          I was
TOTAL       $_ _ _        unab Ie to serve a copy documents upon him/them for the following reasons:

DATE
                          By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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      IN THE COURT OF COMMON PLEAS, MONTGOMERY COUNTY OHIO
                           CIVIL DIVISION

                                                                                SUMMONS
PLAINTIFF                                                                       CASE NUMBER
OLWIN METAL FABRICATION LLC                                                       2022 CV 01134
vs
DEFENDANT                                                                    ARTICLE NUMBER
MULTl-CAM INC. et al                                                              270889775885

TO THE FOLLOWING NAMED DEFENDANT:
MULTICAM GREAT LAKES INC.
18 CARNEGIE WAY
WEST CHESTER OH 45246


You have been named a Defendant or Respondent in a complaint filed in Montgomery County
Court of Common Pleas, Dayton, Ohio.A copy of the Complaint is attached.

BY:
OLWIN METAL FABRICATION LLC
1933 KUNTZ ROAD
DAYTON, OH 45404


PLAINTIFF ATTORNEY:
DAVID M RICKERT
110 NORTH MAIN STREET
SUITE 1000
DAYTON, OH 45402-1738

You are hereby summoned and required to serve upon the Plaintiffs attorney, or upon the Plaintiff,
if the Plaintiff does not have an attorney, a copy of an Answer to the Complaint within 28 days
after receipt of this summons, exclusive of the day you received the summons. Your
original Answermust be filed with the Clerk of Court's Office within 3 daysafter you serve the
Plaintiff's attorney or Plaintiff.




                                           EXHIBIT D
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If you fail to appear and defend, Judgment by Default may be rendered against you
granting Plaintiff(s) the relief demanded in the Complaint.

NOTE:
If you are represented by an attorney, your attorney is required to electronically file your Answer
through the Court's authorized electronic filing system. See Montgomery County Common Pleas
Court Loe. R. 1.15, Electronic Filing of Court Documents, for requirements of electronic filing.
Local rules can be accessed at www.montcourt.oh.gov. Service of the Answer will be made upon
the Plaintiff's attorney through the Court's authorized electronic filing system. If the Plaintiff does
not have an attorney, your attorney is required to serve a paper copy of your Answer to the
Plaintiff.

If you are representing yourself (appearing pro se), you have the option to file your Answer in
paper OR through the Court's authorized electronic filing system (See Loe. R. 1.15, Electronic
Filing of Court Documents). Local rules can be accessed at www.montcourt.oh.gov. If you file
your Answer in paper, you are required to serve a paper copy of your Answer to the Plaintiff's
Attorney or the Plaintiff. If you file your Answer electronically, service of the Answer will be made
upon the Plaintiff's attorney through the Court's authorized electronic filing system. If the Plaintiff
does not have an attorney, you are required to serve a paper copy of your Answer to the Plaintiff.



                                              /s/ MIKE FOLEY, ISSUED Tuesday, March 15, 2022
                                                                              MIKE FOLEY, CLERK
                                                                      COURT OF COMMON PLEAS
                                                                   MONTGOMERY COUNTY, OHIO


                                 PREPARED ELECTRONICALLY




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                 In The Court Of Common Pleas, Montgomery County Ohio
                                     Civil Division
                                                      RETURN OF SERVICE SUMMONS

PLAINTIFF                                                                               CASE NUMBER
OLWIN METAL FABRICATION LLC                                                               2022 CV 01134
vs
DEFENDANT                                                                           ARTICLE NUMBER
MULTl-CAM INC. et al                                                                       270889775885


TO THE FOLLOWING NAMED PARTY:
MULTICAM GREAT LAKES INC.
18 CARNEGIE WAY
WEST CHESTER, OH 45246


                            RETURN OF SERVICE(PERSONAL)
          FEES
                           I received the document on _ _ __ _ , 2022, at _ _ o'clock _ _ M. and
SERVICE     $_ __
                           made personal service of it upon _ _ _ _ _ _ _ by locating him/them and
MILEAGE                    tendering a copy of the document and accompanying documents, on
TOTAL        $ _ __        - -- - -' 2022.
                           By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
DATE


                           RETURN OF SERVICE(RESIDENCE)
          FEES
                           I received the document on _ _ __ _ , 2022, at _       _ o'clock _ _ M. and
SERVICE     $_ _ _
                           made residence service of it upon                        by leaving, at his/their
MILEAGE                    usual place of residence with                          a person of suitable age
TOTAL        $_ __         and discretion then residing therein a copy of the complaint and accompanying
                           documents, on _ _ _ _ _ _ _ _ , 2022.
DATE
                           By _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ __


                       RETURN OF SERVICE(FAILURE OF SERVICE)
          FEES
                           I received the document on _ _ __ _ , 2022, at _ _ o'clock _ _ M. with
SERVICE      $_ _ _
                           instructions to make personal/residence service upon
MILEAGE
                           - - - - - - - - - - - - - - - - - -- - - - and                           I was
TOTAL        $_ _ _        unab Ie to serve a copy documents upon him/them for the following reasons:

DATE
                           By _ _ _ _ _ _ _ __ __ _ _ _ _ _ __




                                            EXHIBIT D
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